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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

KENNETH BYRGE & LAURIE BYRGE                         )
                                                     )
               Plaintiffs,                           )       Case No: 2018 cv 3267
                                                     )
-v-                                                  )       Hon. Charles P. Kocoras
                                                     )
ELLIOT HALSEY & HALSEY LAW P.C.,                     )
                                                     )
               Defendants.                           )

                                    MOTION TO DISMISS

       NOW COME the Defendants, Elliot Halsey (“Halsey”) and Halsey Law P.C. (the

“Corporation”) by and through their attorneys, The Tracy Firm, Ltd., and respectfully move this

Court, pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, for an entry of an order:

(a) dismissing Counts II, III, IV and VI of the Complaint with prejudice; and (b) dismissing

Defendant Halsey in his individual capacity from all Counts with prejudice. Support for this

Motion is set forth more fully in the accompanying Memorandum of Law in Support of

Defendants’ Motion to Dismiss.

       WHEREFORE, Defendants respectfully moves this Court for the relief requested herein

and such other relief this Court deems just and necessary.

Dated: June 18, 2018                                         Respectfully submitted,

                                                             ELLIOT HALSEY &
                                                             HALSEY LAW PC

                                                             /s/ Adam S. Tracy
                                                             _____________________
                                                             By Their Attorney



Adam S. Tracy
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